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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


OPEN SOCIETY JUSTICE INITIATIVE,

                                       Plaintiff,                     19 Civ. 234 (PAE)
                       -v-                                            19 Civ. 1329 (PAE)

 CENTRAL INTELLIGENCE AGENCY, et al.,                                       ORDER

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       Prompted by the Government’s recent classified submissions, the Court will hold an ex

parte classified hearing. The Classified Information Security Officer assigned to this case has

been instructed to contact the Government and make the necessary arrangements for this hearing.

       SO ORDERED.


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                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: February 25, 2021
       New York, New York
